    Case: 1:17-cv-01640 Document #: 76 Filed: 12/06/17 Page 1 of 3 PageID #:1671



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

BILL A. BUSBICE, JR., an individual;
OLLAWOOD PRODUCTIONS, LLC, a
limited liability company; and ECIBSUB,
LLC, a limited liability company,

                      Plaintiffs,

           v.                                               Case No. 1:17-cv-1640

ADRIAN VUCKOVICH, an individual;                            Honorable Andrea R. Wood
COLLINS, BARGIONE & VUCKOVICH, a
partnership; and DOES 1 – 50, inclusive,                    JURY TRIAL DEMANDED

                      Defendants.

                        JOINT MOTION TO EXTEND CASE DEADLINES

           Plaintiffs Bill A. Busbice, Jr., Ollawood Productions, LLC, and Ecibsub, LLC

(“Plaintiffs”) and Defendants Adrian Vuckovich and Collins, Bargione & Vuckovich

(“Defendants”) (collectively, the “Parties”), by and through their attorneys, pursuant to Federal

Rule of Civil Procedure 16(b)(4) and with good cause, hereby move to continue the remaining

case deadlines. In support, the parties state as follows:

    1. Fact discovery is set to close in this case on December 15, 2017;

    2. The Parties have diligently sough discovery from each other. However, due to witness

           availability and several upcoming holidays, at least one noticed deposition cannot go

           forward before the end of fact discovery;

    3. This is the Parties’ first request for an extension of case deadlines. This motion is not

           made in bad faith. Rather, an extension is necessary to complete the deposition identified

           above, and to ensure that any other depositions or written discovery resulting from that




33369940
    Case: 1:17-cv-01640 Document #: 76 Filed: 12/06/17 Page 2 of 3 PageID #:1672



           deposition can be completed before the deadline. The parties do not anticipate that any

           further discovery extensions will be necessary.

    4. Accordingly, the Parties request that the remaining case deadlines in this matter be

           extended two months.

    5. The requested extension does not impact the currently set final pre-trial conference or

           trial date.

    Wherefore, the Plaintiffs and Defendants jointly request that the case deadlines be amended

as follows:

Deadline                            Original Deadline                 Amended Deadline

Fact Discovery Cut-off              December 15, 2018                 February 28, 2018

Plaintiffs’ Expert Disclosure and   January 31, 2018                  April 12, 2018

Reports due

Last Day to Depose Plaintiffs’      February 28, 2018                 May 11, 2018

Expert(s)

Defendants’ Expert Disclosure       March 31, 2018                    June 14, 2018

and Reports due

Last Day to Depose Defendants’      April 30, 2018                    July 13, 2018

Expert(s)

Deadline to Hear Dispositive        May 31, 2018                      August 14, 2018

Motions

Final Pre-Trial Conference          October 1, 2018 at 1:00 p.m.      No Change

Trial                               October 9, 2018 at 9:00 a.m.      No Change




                                                   -2-
33369940
    Case: 1:17-cv-01640 Document #: 76 Filed: 12/06/17 Page 3 of 3 PageID #:1673



Dated: December 6, 2017               Respectfully submitted,


                                      By: /s/ Paul L. Gale
                                         Paul L. Gale
                                         Lauren E. Grochow
                                         TROUTMAN SANDERS LLP
                                         5 Park Plaza, Suite 1400
                                         Irvine, CA 92614
                                         949-622-2700
                                         Email: paul.gale@troutmansanders.com
                                         Email: lauren.grochow@troutmansanders.com

                                          Robert E. Browne, Jr.
                                          TROUTMAN SANDERS LLP
                                          55 West Monroe Street, Suite 3000
                                          Chicago, IL 60603
                                          Email: robert.browne@troutmananders.com

                                          Attorneys for Plaintiffs
                                          BILL A. BUSBICE, JR., OLLAWOOD
                                          PRODUCTIONS, LLC, and ECIBSUB, LLC

Dated: December 6, 2017               Respectfully submitted,


                                      By: /s/ Amir Tahmassebi
                                         Thomas J. Long
                                         David F. Konicek
                                         Amir Tahmassebi
                                         KONICEK & DILLON, P.C.
                                         21 West State Street
                                         Geneva, IL 60134
                                         630-262-9655
                                         Email: tlong@konicekdillonlaw.com
                                         Email: dan@konicekdillonlaw.com
                                         Email: amir@knoicekdillonlaw.com

                                         Attorneys for Defendants
                                         ADRIAN VUCKOVICH and COLLINS,
                                         BARGIONE & VUCKOVICH




                                        -3-
33369940
